178 F.2d 270
    PHILLIPS et al.v.COMMISSIONER OF INTERNAL REVENUE and eight other cases.
    Nos. 9969 to 9977.
    United States Court of Appeals, Third Circuit.
    Argued November 25, 1949.
    Decided December 2, 1949.
    
      Sidney B. Gambill, Pittsburgh, Pa. (Rolland L. Ehrman, Butler, Pa., W. A. Seifert, William Wallace Booth, and Reed, Smith, Shaw &amp; McClay, Pittsburgh, Pa., on the brief), for petitioners.
      Hilbert P. Zarky, Sp. Asst. Atty. Gen., Washington, D. C. (Theron Lamar Caudle, Asst. Atty. Gen. and Ellis N. Slack, Sp. Asst. Atty. Gen. on the brief), for respondent.
      Before GOODRICH, McLAUGHLIN and KALODNER, Circuit Judges.
      PER CURIAM.
    
    
      1
      In these cases the petitioners seek to bring before us the effect of a closing agreement made between a taxpayer and the Commissioner. 26 U.S.C.A. § 3760. The agreement in these cases, however, was entered into between a corporate taxpayer and the Commissioner upon Form 866, which does not purport by its terms to settle anything more than the amount of taxpayer's liability for a particular year or years. We see nothing to indicate that the use of this Form was accidental or that the taxpayer was misled by a revenue agent. Furthermore, it was a corporate taxpayer who was a party to the closing agreement. This litigation is between the Commissioner and shareholders of that corporate taxpayer. Even if the closing agreement, as executed, settled other facts than the amount of tax liability between the parties to the agreement, these petitioners are strangers to that agreement and we think are neither bound by it nor can they take advantage thereof.
    
    
      2
      The decisions of the Tax Court will be affirmed.
    
    